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     1                  UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
     2   ______________________________
         RASTELLI PARTNERS, LLC, et al.,
     3
                     Plaintiff,
     4                                                  CIVIL ACTION
                     vs.                               NO. 19-cv-05124-NLH-JS
     5
         FOFBAKERS HOLDING COMPANY, LLC, et al.,
     6
                     Defendants.                       Order to Show Cause
     7                                                  Hearing
         ______________________________
     8        Mitchell H. Cohen Building & U.S. Courthouse
              4th & Cooper Streets
     9        Camden, New Jersey 08101
              February 15, 2019
    10        Commencing at 3:24 p.m.

    11   B E F O R E:             THE HONORABLE NOEL L. HILLMAN
                                  UNITED STATES DISTRICT JUDGE
    12
         A P P E A R A N C E S:
    13
    14         HYLAND LEVIN SHAPIRO, LLP
               BY: DAVID R. DAHAN, ESQUIRE
    15         6000 Sagemore Drive, Suite 6301
               Marlton, New Jersey 08053-3900
    16         For the Plaintiffs

    17         BOCHETTO & LENTZ, P.C.
               BY: GAVIN P. LENTZ, ESQUIRE
    18         1230 Brace Road
               Cherry Hill, New Jersey 08034
    19         For the Intervenor Plaintiff

    20
    21   Certified as true and correct as required by Title 28, U.S.C.,
         Section 753
    22
               /S/ ROBERT T. TATE, CCR, CRR
    23
    24           Robert T. Tate, Official Court Reporter
                              Bob@Tate-Tate.com
    25                          609-462-4384




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     1   A P P E A R A N C E S: (Continued)

     2
               LAULETTA BIRNBAUM, LLC
     3         BY: GREGORY A. LOMAX, ESQUIRE
               591 Mantua Boulevard, Suite 200
     4         Sewell, New Jersey 08080
               For the Defendants
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     1              (In open court at 3:24 p.m..)

     2              THE DEPUTY COURT CLERK:      All rise.

     3              THE COURT:    All right.    Good afternoon.     I'll take

     4   appearances.    This is Rastelli Partners versus FOFBakers

     5   Holding.    For the plaintiff.

     6              MR. DAHAN:    May it please the Court, David Dahan from

     7   the law firm of Hyland Levin Shapiro on behalf of the

     8   plaintiffs, Rastelli Partners, LLC, and Raymond M. Rastelli,

     9   Jr.

    10              THE COURT:    All right.    Mr. Dahan, welcome to you,

    11   sir.

    12              MR. DAHAN:    Thank you, your Honor.

    13              MR. LENTZ:    Your Honor, Gavin Lentz.      You granted my

    14   motion to intervene.      We're a minority.     We're a 20 percent

    15   equity holder in the LLC.

    16              THE COURT:    Yes.

    17              MR. LENTZ:    DF Ventures is my client.

    18              THE COURT:    All right.    Mr. Lentz, welcome to you as

    19   well.

    20              MR. LOMAX:    Yes, good afternoon, your Honor.        Greg

    21   Lomax from the firm of Lauletta Birnbaum on behalf of the

    22   plaintiff.    The plaintiff is the largest shareholder of the

    23   enterprise.

    24              THE COURT:    All right.    You should be over here.

    25              MR. LOMAX:    Well, I got sued.     So...




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     1               THE COURT:   Oh, I'm sorry.     I thought you said you

     2   were the plaintiff.

     3               MR. DAHAN:   He did.

     4               MR. LOMAX:   Oh, did I say plaintiff?      I'm sorry.       I

     5   take that back.     I'm the defendant.

     6               THE COURT:   Yes, okay.    You're in the right place and

     7   I should have realized when you told me who your client was

     8   that you're on that side of the V.

     9               MR. LOMAX:   Yeah, I misspoke.

    10               MR. DAHAN:   Maybe I sat on the wrong side, your

    11   Honor.

    12               THE COURT:   Well, Mr. Lentz, did I not grant your

    13   motion?

    14               MR. LENTZ:   Yes, you granted my motion to intervene.

    15               THE COURT:   All right.    Very good.

    16             All right.   So, Mr. Lomax, let me start with you.           Mr.

    17   Dahan sent me a letter yesterday.        I got a proposed consent

    18   order about prejudging the issues.        It seems pretty

    19   reasonable.    Is there any reason why you wouldn't sign the

    20   consent order on behalf of your client?

    21               MR. LOMAX:   Well, here's what happened, your Honor.

    22   I was hired Thursday of last week.        I filed the petition to

    23   remove.    I got on a plane Monday to go to Rochester, New York

    24   to deal with something else.       I read, before I left, I read

    25   the order to show cause, the proposed form of order.           I said




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     1   we'll submit to that.      And I wrote the Court a letter Thursday

     2   morning and said that we will submit to that.

     3           We get the proposed consent order.         There's a lot of

     4   little things in there that are problematic because they're

     5   inconsistent, our position is, they're inconsistent with the

     6   terms of the operating agreement and we don't believe that

     7   they're appropriate.

     8           We exchanged some minor tweaks to it today, and we

     9   reached an impasse on that because there are certain things

    10   that we believe are just not appropriate.          Like, for instance,

    11   the proposed consent order that was submitted by Mr. Dahan

    12   today -- is it Dahan or Dahan?

    13              MR. DAHAN:    Dahan.

    14              MR. LOMAX:    Dahan, that was submitted today put out

    15   two specific areas they want to arbitrate, and the arbitration

    16   specifically under the management agreement is to break

    17   deadlocks, okay, between managers.        My client is a 50 percent

    18   manager, and I believe his client is a 50 percent manager, and

    19   a company like that is fraught with deadlocks.          They put in

    20   two specific areas that they want to arbitrate.

    21           I got back to him and said, well, listen, there's two

    22   areas we want to arbitrate, and I put those back in the thing,

    23   and they said absolutely not, we're not agreeing to arbitrate

    24   those, we filed this lawsuit, and I'll let him say why he's

    25   not, but bottom line is, if this is going to arbitration, we




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     1   agreed, based on this form of order, to send it to

     2   arbitration.    Once it goes to arbitration, whatever is

     3   arbitrable is a decision for the arbitrator, not for the

     4   Court.   We believe our two things are ripe for arbitration, he

     5   believes his two things are ripe for arbitration.           Let's go to

     6   the arbitrator and let him determine what's ripe and what's

     7   not.

     8            So, I'm okay with the proposed form of order that was

     9   submitted initially, but they want to delineate the playing

    10   field before we get to arbitration.        It didn't make any sense

    11   to me.

    12            They also want to incorporate a term in the, that

    13   specific provision, it's provision C of this proposed form of

    14   order, that says it's binding arbitration.          Well, the

    15   operative document, the operative paragraph 4(g), 4.1(g),

    16   doesn't say anything about it being binding.

    17            Now, we don't want to agree to something that changes

    18   the terms of a negotiated agreement among three parties and

    19   basically consent by court order on an application for an

    20   injunction to change the terms and then have the court order

    21   it.

    22            As far as arbitration, or mediation, we will agree to

    23   mediate issues.     As is provided under the operating agreement

    24   under Section 12, the parties, the members, the individual

    25   members, if there's a dispute between the members, they agreed




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     1   to mediate those and, if that fails, go to court.            Okay?

     2   We'll agree to go to mediation.        I think mediation, if I was

     3   involved in this case from the very inception, I would have

     4   said, hold up, hold up, stop, let's talk, and if we can't work

     5   it out, let's mediate some of these things.          Okay?   I wasn't.

     6   The cattle was out of the barn.        By the time I got it it was

     7   already a lawsuit.

     8           It seems to me the appropriate order is the one -- they

     9   got it right first, the appropriate order is the one that they

    10   submitted with their pleadings.        Now they want to basically

    11   put in a series of terms and conditions that are not supported

    12   by the operating agreement and really fall within the

    13   parameters of where we're going to go.         Arbitration, whether

    14   things are arbitrable, leave it to the arbitrator; mediation,

    15   let's try to mediate.      Okay?   Mediation is a voluntary

    16   process.    If we don't settle it there, then we reach an

    17   impasse, we blow it up and go to court or just try to resolve

    18   it on our own.

    19           But it doesn't seem like we need all these conditions

    20   and terms and all this other stuff that they put in this order

    21   that they submitted to the Court yesterday afternoon, and

    22   that's really my only objection, your Honor.          And I can show

    23   you what I sent to, if your Honor likes, I can approach the

    24   bench, they have a copy of it, I can show you what I sent, our

    25   consent, our requested changes, our red lines, and I can




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     1   submit that to the Court and have you take a look at that.

     2               THE COURT:   All right.    Let me see that.

     3               MR. LOMAX:   Okay.

     4               MR. LENTZ:   Judge, we agreed to be helpful to go

     5   through that.     We're not that far off on it.

     6               THE COURT:   Mr. Dahan, what's your view?

     7               MR. DAHAN:   Your Honor, let me just respond to Mr.

     8   Lomax's comments.     It's very important to understand that we

     9   filed this application back on January 29th.          We're now more

    10   than two weeks removed.      The reason we are here because of the

    11   delay is because of the defendants.

    12             We had a hearing set up in State Court.       They requested

    13   an adjournment claiming that they did not get copies of the

    14   pleadings when I served them every which way except carrier

    15   pigeon.    I served them by overnight mail, certified mail,

    16   regular mail, Federal Express.        But the State Court had

    17   adjourned the hearing at that time.

    18             Now, more than two weeks has passed by and we get

    19   notice just yesterday on the eve of this hearing that they're

    20   willing to consent to what we asked for more than two weeks

    21   ago, but the bottom line is they never agreed to it two weeks

    22   ago and we're here now asking the Court for relief.           Things

    23   have changed, your Honor.        Things do not stay the same since

    24   the time when you file an application for injunctive relief,

    25   and that's what's happened here, your Honor.




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     1             At issue, one of the big issues in this case is that

     2   there is -- we're on the verge of entering into an agreement

     3   with a significant international franchise chain and we want

     4   to move forward with that.       We want to provide them with

     5   pricing and we want to move forward with entering into an

     6   agreement with that franchise chain.         So far it's the single

     7   biggest opportunity that has ever been presented to this

     8   company that really is in its infancy.         It just started back

     9   in 2015.

    10               THE COURT:   What are the annual sales of the

    11   plaintiff?

    12               MR. DAHAN:   Your Honor, I don't have that information

    13   available.    But this opportunity with this franchise company

    14   would be significant because they have a significant number of

    15   stores.    I don't want to, for confidentiality purposes, reveal

    16   who it is, but it is a significant international food

    17   franchise.

    18               THE COURT:   Well, what I'm trying to understand is

    19   just relative scale.

    20               MR. LOMAX:   I can try --

    21               THE COURT:   Does this add 10 percent to their

    22   revenue, or is this double the size of the company, or --

    23               MR. LOMAX:   I can try to help, your Honor.       Okay?

    24   First, the company is not a party in the case for I don't know

    25   whatever reason, it is not a party.        The members are the




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      1   combatants in this case.      I don't understand why the company

      2   is not a party.

      3           Having said that, I believe the annual sales are in the

      4   millions now.    It's been represented to us, but we have asked

      5   for the documents relating to this, this proposed opportunity

      6   with this franchisor, it has been represented to us it could

      7   potentially be additional millions.        We have no way to

      8   quantify it.    We have asked for documents.

      9           And the reason why time passed, my client is a

     10   62-year-old retired NFL player.       His name is Al Bubba Baker.

     11   He might be in the Hall of Fame.       He came up with a really

     12   cool idea and patented it.      It is a way to take rib meat and

     13   remove the bones, and that's what they sell.         That's the

     14   widget they sell, ribs without the bones.         I think I can say

     15   this about where they -- one of their customers?          There's

     16   nothing confidential about that, right?

     17             MR. DAHAN:    I'd rather not.

     18             MR. LOMAX:    Okay.   Right now there's a major

     19   franchisor that sells the product.        Okay?   And he came up with

     20   this theory, this business idea, went to Shark Tank, after he

     21   patented it, went to Shark Tank, and one of the guys on Shark

     22   Tank, who is one of the partners represented by Mr. Lentz,

     23   thought the idea was great, and hence this partnership,

     24   Rastelli is the meat guys.      Right?    That's how we came about

     25   this.




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      1             He lives in Ohio and Florida.     His counsel that was

      2   dealing with this and was dealing mostly with transactional

      3   counsel, Mr. Dahan's partner, Ben Levin, and they were trying

      4   to work it out for basically the better part since this

      5   lawsuit was settled and even before -- before it was filed,

      6   rather.    And that's kind of how we got to here.

      7             They hired me when they couldn't work it out, and I was

      8   supposed to be local counsel.       Unfortunately, I became much

      9   more than local counsel when I got off a plane at two o'clock

     10   Wednesday afternoon to a major storm.        So, that's where we are

     11   today.

     12             It is in the scope of millions.      On February 13th, my

     13   client's Cleveland lawyer sent an e-mail to Mr. Levin asking

     14   for all the specifics of it.       My client's Cleveland lawyer has

     15   told me that he never got a response to that, getting the

     16   proposal, this NDA that supposedly exists, we don't have any

     17   of these records.     My client is a 50 percent manager of the

     18   company.    As well settled New Jersey law, he is entitled to

     19   every shred of documents in there.        He doesn't have them.        And

     20   they want him to vote on this.       This is a major issue here.

     21             Now, we don't want to lose the opportunity, but we need

     22   to know more.    That's why if we get in this arbitration

     23   setting or mediation setting, hopefully we can work it out.

     24   We tried to work on business terms today.         We got nowhere.

     25   Okay?    They've been trying to work on business terms for about




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      1   two weeks to try to get through this problem.          We got nowhere.

      2   That's why I say, Judge, I don't think it's for this Court

      3   right now to make a decision based on some of this

      4   information, to order things that are going to be ruled upon

      5   by an arbitrator and discussed with a mediator.

      6              MR. DAHAN:   Your Honor, may I respond?

      7              THE COURT:   Yes, sir.

      8              MR. DAHAN:   Okay.

      9              THE COURT:   Mr. Lomax, do you want to hand up the red

     10   line?

     11              MR. LOMAX:   Yes, this is my response.       It's the same

     12   as this.   Do you want to check it out?

     13              MR. DAHAN:   No, I accept your representation.

     14              MR. LOMAX:   May I approach, your Honor?

     15              THE COURT:   Yes.    Thank you, sir.

     16              MR. LOMAX:   Yes.

     17              THE COURT:   Mr. Dahan.

     18              MR. DAHAN:   Your Honor, I can respond point by point

     19   to Mr. Lomax's comments, but I would respectfully submit our

     20   time would probably be better spent going through what Mr.

     21   Lomax just handed to you.       Those were his revisions, your

     22   Honor, to the proposed consent order that I filed with the

     23   Court yesterday, and, your Honor, if you will bear with me, I

     24   can explain why each one of these changes are either not

     25   acceptable or are acceptable, and why they're consistent with




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      1   the operating agreement, if I may, your Honor.

      2             THE COURT:    All right.    Well, let me -- I need to

      3   read it first.

      4             MR. DAHAN:    Sure.

      5             THE COURT:    I read the original, but I need to see

      6   the comments here.     We'll just take it paragraph by paragraph.

      7   Is that okay?

      8             MR. DAHAN:    Yes, your Honor.

      9             THE COURT:    All right.    So, let me read C.      That's

     10   the first change, right?

     11             MR. DAHAN:    Correct, your Honor.

     12             THE COURT:    All right.    Let me just read that and

     13   then I'll hear both of you on it.

     14           Where, Mr. Dahan, where would I quickly find the

     15   operative provision in the agreement regarding arbitration?

     16             MR. LOMAX:    I have a copy of the operating agreement

     17   I can hand up, your Honor.

     18             MR. DAHAN:    It's in 4.1(g), your Honor.

     19             THE COURT:    All right.    I have it.    Let me just read

     20   that.

     21             MR. DAHAN:    And I should say (g) and (h).

     22             THE COURT:    Right.    Okay.   So, this describes a, how

     23   one reaches a "deadlock," right?

     24             MR. DAHAN:    Correct, your Honor.

     25             THE COURT:    There needs to be a proposal of a




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      1   resolution, a vote, and then only after a true deadlock arises

      2   out of an inability to pass the resolution does the

      3   arbitration provision become operative.         Is that a fair

      4   reading of this?

      5             MR. LOMAX:    Yes, your Honor.

      6             MR. DAHAN:    Correct, your Honor.      Yes, you have to

      7   have a particular action or resolution which we have attempted

      8   to do, and Mr. Baker has not -- has refused to participate.

      9             THE COURT:    Okay.   Just so I don't lose the train of

     10   thought here.    So, you would say that the issue of the

     11   approval of the pricing information for the new business, I'll

     12   call it, whether such an agreement for the new business should

     13   be entered into and where the company should source pork

     14   products were the subject of a resolution as described in (g)?

     15             MR. DAHAN:    Yes, your Honor.     We requested several --

     16             THE COURT:    Okay.   Let me stop you there, because I

     17   want to ask Mr. Lomax, was the Walmart situation and Meijers

     18   account situation the subject of a resolution and vote?

     19             MR. LOMAX:    I'm told yes.     I'm told yes from my

     20   Cleveland counsel.

     21             THE COURT:    Do you believe that's true, Mr. Dahan?

     22             MR. LOMAX:    He does not, and I don't believe they

     23   jumped through all the hoops for 1, 2 and 3 either.

     24             MR. DAHAN:    Your Honor, we did, because we did send

     25   notice.   We requested meetings at six times, your Honor.              We




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      1   sent notices for a meeting on December 18, 2018, December 27,

      2   2018, January 10, 2019, and each time Mr. Baker refused to

      3   participate and canceled the meeting.        We also --

      4              THE COURT:   Well, hold on.     That raises a different

      5   thing, right?    You're saying they didn't even agree to

      6   consider a resolution or have a vote.

      7              MR. DAHAN:   No, your Honor.     We wanted to have these

      8   discussions because we wanted to have Mr. Baker approve of the

      9   pricing information and talk about any issues he may have with

     10   respect to using the pork product.        Now, he claims that he's

     11   never agreed to the pork product.        That's not true, your

     12   Honor.

     13            We sent Mr. Heben, Ohio counsel for the defendants, we

     14   sent him an e-mail explaining how his client specifically

     15   approved of the use of this -- the sourcing of pork, and we

     16   attached to it various e-mails showing that we even gave him

     17   the opportunity to go to the facility where the pork comes

     18   from to inspect it.     He said, no, I trust the Rastellis'

     19   judgment, go with it.      And there were other e-mails explaining

     20   how excited him and his family were about getting the pork

     21   product and moving forward with it.

     22            So, I don't even know, respectfully, your Honor, I

     23   don't even know why that's a dispute by the defendants as far

     24   as using this product.      History will show, and that's an issue

     25   for another day, I understand that, but history will show that




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      1   he clearly approved of it in writing not once, but several

      2   times.   But that can be an issue that can be resolved at

      3   arbitration.

      4            What we're trying to do here, your Honor, is we're

      5   saying, look, the operating agreement clearly says what a

      6   deadlock is.    We have a classic situation of a deadlock here.

      7   We have tried to schedule meetings and asked Mr. Baker to

      8   approve of the pricing information.        He refuses to

      9   participate.    We have sent notices of meetings to Mr. Baker to

     10   help come together and discuss and develop and approve of an

     11   operating budget, which that's a member issue, which is in a

     12   different section, your Honor, Section 4.4 of the operating

     13   agreement.

     14              THE COURT:   I'm sorry.    I read this more carefully

     15   now.   There doesn't have to be a resolution.        Fairly read, it

     16   says if the managers cannot agree on a particular action after

     17   requests for unanimous written consent, and you're telling me

     18   that those requests were made.

     19              MR. DAHAN:   Correct, your Honor.

     20              THE COURT:   All right.    Maybe I misunderstood Mr.

     21   Lomax.   I thought the Walmart and the Meijers account

     22   situation were things that he wanted to add to the

     23   arbitration.

     24              MR. LOMAX:   Correct, your Honor.

     25              MR. DAHAN:   Yes, your Honor, and if I can respond to




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      1   that.

      2             THE COURT:    Okay.

      3             MR. DAHAN:    And I'll tell you why -- well, a couple

      4   things.   Let me just respond.      I'm just trying to go in the

      5   order, your Honor.     We put in there binding arbitration.

      6   Clearly Section 4.1(g) refers to arbitration.          I don't know

      7   how arbitration is anything but binding.         So, why they would

      8   not agree to that to me I don't understand.

      9             MR. LOMAX:    Can I just say, your Honor?

     10             THE COURT:    Hold on.    Let him finish.

     11             MR. LOMAX:    Okay.

     12             THE COURT:    I've got more questions for him anyway.

     13             MR. DAHAN:    Now, with respect to the Walmart account

     14   situation and the Meijers account situation, your Honor, we

     15   need to remember the procedural, I ask the defendants to

     16   remember the procedural posture of this case.          We initiated

     17   this lawsuit.    We claimed that we needed immediate injunctive

     18   relief for the reasons set forth in the verified complaint.

     19   They haven't asked for anything in this lawsuit.          There is

     20   nothing pending before this Court establishing that the

     21   Walmart account situation and the Meijers account situation,

     22   whatever that means --

     23             THE COURT:    I realize that, Mr. Dahan, but we're

     24   talking about a consent order here.        Is there any reason why,

     25   if the proper -- if the procedural requirements of (h), (g)




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      1   had been followed, why your client would not agree to

      2   incorporate within the arbitration those areas of dispute?

      3             MR. DAHAN:    What we talked to Mr. Lomax about this

      4   morning, your Honor, before we came here was that we would be

      5   agreeable to the defendants reserving their right to seek any

      6   arbitration or mediation in connection with any issues that

      7   fall within those particular clauses in the operating

      8   agreement.

      9             THE COURT:    That's a different question.       Certainly

     10   they could have -- if you were in an arbitration, you could

     11   ask the arbitrator to incorporate it, but my question is

     12   different.    As a matter of good faith in a consent order, if

     13   the procedural requirements of 4(g) had been followed, a

     14   provision you are relying on, your client is relying on to tee

     15   up for the arbitrator certain issues, why would you not agree

     16   in a consent order to have those other issues resolved as

     17   well?

     18             MR. DAHAN:    Your Honor, because we're not aware of

     19   any deadlock with respect to either Walmart or Meijers.           I

     20   think what the defendants are seeking is they want more

     21   information with respect to those two accounts.          We will agree

     22   to go to mediation on those.

     23             THE COURT:    I premised my question with, if the

     24   procedural requirements of 4(g) had been that, that is, the

     25   managers cannot agree on a particular action and, after a




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      1   request for unanimous written consent had been sent, let's say

      2   Mr. Lomax can show you that his client said to your client, I

      3   want action on these two issues and would like your unanimous

      4   written consent and that was refused, why you wouldn't include

      5   that in the arbitration.

      6             MR. DAHAN:    Your Honor, because we don't know if it's

      7   a deadlock.    If it's a deadlock --

      8             THE COURT:    I would suggest to you that is by

      9   definition, for the same reason you argue the other issues are

     10   a deadlock.    You asked him to concede.       He refuses to

     11   participate.    There's been no vote, right?

     12             MR. DAHAN:    There's been no vote because he won't

     13   vote on it.

     14             THE COURT:    Right.    And that's why I think this was

     15   written probably the way it was, which is if the managers

     16   cannot agree on a particular action after, and there's "ors"

     17   in here, after requests for unanimous written consent, you go

     18   to arbitration.     In other words, you can't defeat the purposes

     19   of arbitration by refusing to play nice and go along.

     20             MR. DAHAN:    I agree, your Honor.

     21             THE COURT:    So, this is drafted in a way to not

     22   require a formal vote or resolution.        It carves out someone

     23   who is refusing to participate.       Right?

     24             MR. DAHAN:    Right.

     25             THE COURT:    And you're saying to me there was no




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      1   vote, right?

      2             MR. DAHAN:    On the issues we have identified, your

      3   Honor, correct.

      4             THE COURT:    Right.    And Mr. Lomax is telling me that

      5   a similar situation arises for those other two issues.           There

      6   was a request for unanimous consent.        No information --

      7             MR. LOMAX:    Can I just tell you what we did, your

      8   Honor, with the two things?

      9             THE COURT:    Well, hold on.     Let me just see if he --

     10   if the procedural posture is the same, whatever the issue may

     11   be, and 4(g) applies, wouldn't it make sense for both sides,

     12   if they're going to go to the arbitrator to resolve any

     13   outstanding issues in which they appear to have a

     14   disagreement, so long as the procedural requirements of 4(g)

     15   have been met?

     16             MR. DAHAN:    Well, your Honor, I would answer it this

     17   way.   I don't understand what the Walmart account situation

     18   and the Meijers account situation is.        The only thing I know

     19   about that is the defendants are seeking additional

     20   information in connection with those two accounts.           That's,

     21   that's not a deadlock to me, your Honor.         That's a request for

     22   information that we can try to resolve in mediation.           And that

     23   would fall under the appropriate mediation clause in the

     24   operating agreement.     I don't see a deadlock.

     25           To answer your Honor's question, yes, if you go through




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      1   the required steps in 4.1(g) and assuming it's a deadlock and

      2   not a request for information because, your Honor, I don't

      3   understand the request for information to create a deadlock.

      4               THE COURT:   Okay.   Fair enough.

      5               MR. DAHAN:   And, your Honor, the other thing I want

      6   to address is, in this section, they -- we put in here a

      7   clause that says that the arbitration, and the mediation, will

      8   require the parties and their counsel to participate in

      9   person.    They want to change it to say that the parties and

     10   their counsel can participate either in person or by

     11   videoconferencing, Skype or telephone.

     12             Now, your Honor, in my experience, in order for an

     13   arbitration to be productive and a mediation to have any

     14   chance of success, it is imperative that the parties and their

     15   counsel be present in the room in the same building and be

     16   vested in the process because, as your Honor knows, there's

     17   caucusing and there's a lot of back and forth, and by having

     18   somebody participate by Skype or videoconference is not the

     19   same thing, your Honor, and it would be extremely difficult

     20   for an arbitration to be productive or for a mediation to be

     21   successful.    We could have technical difficulties, but more

     22   importantly, it's important to have the person there, the live

     23   body.

     24               THE COURT:   Does the agreement address how the

     25   arbitration should proceed procedurally, where and how




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      1   conducted?    It's not in 4.1(g).

      2              MR. DAHAN:   No, your Honor, and that's why we

      3   requested that some of these details be included in the

      4   consent order, because we're worried that on the fringe of

      5   losing this significant and rare opportunity with this

      6   franchise system, your Honor, that we are going to waste time

      7   having disputes over, well, how do we select the arbitrator or

      8   the mediator, when does it have to be completed by, and that

      9   was the purpose of including what we included in the consent

     10   order.

     11            And, your Honor, clearly the intent of Section 4.1(g)

     12   is that any deadlock would be promptly resolved.          It says that

     13   after -- if the managers cannot agree on a particular action

     14   or resolution after a vote on the resolution has been taken

     15   during two separate meetings of the managers or requests for

     16   unanimous written consent, which meetings or requests had been

     17   duly called and held pursuant to this agreement, such

     18   disagreement is hereinafter referred to as a deadlock, then

     19   the managers shall select an individual who is not an officer,

     20   member or manager of the company to serve as a neutral

     21   arbitrator to resolve the deadlock within five business days

     22   after the second meeting of the managers.

     23            Then it goes on to state, if the managers can't agree

     24   on an independent single arbitrator, then each side will pick

     25   one, so there will be two arbitrators, and they will pick a




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      1   third.    But here's the interesting thing, your Honor.

      2   Clearly, the operating agreement recognizes that there are

      3   going to be time sensitive deadlock issues that have to be

      4   resolved as quickly as possible, because in that same

      5   paragraph, it goes on to state, the neutral arbitrator, last

      6   sentence, the neutral arbitrator shall vote for or against the

      7   resolution at the next duly called and convened meeting of the

      8   managers.

      9             Now, if we look at Section 4.2(a), your Honor, that

     10   governs the meetings of the managers, and a manager can duly

     11   call a meeting of the managers upon a mere two days notice.

     12   So, even if you take the five days to select an arbitrator in

     13   Section 4.1(g) and you take the two days in Section 4.1(a) to

     14   call a meeting, you're talking about no more than seven days

     15   to have a decision by an arbitrator to resolve the deadlock

     16   issues.

     17             So, clearly the operating agreement, which was signed

     18   by the defendants and which they are so heavily relying upon

     19   to say we're only going to stick to the four corners of the

     20   operating agreement, supports our argument, because the intent

     21   was clearly to resolve deadlock issues as quickly as possible.

     22             Now, had they agreed to do that back on January 29th or

     23   30th when we initially, we filed the application on January

     24   29th, then the arbitration would have been completed by now,

     25   your Honor.    But here we are more than two weeks later, they




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      1   haven't complied with those provisions of the operating

      2   agreement, and now they don't want to agree to go to

      3   arbitration right away.

      4           Now we have a situation where this major international

      5   franchise wants to begin an operations test by February 28th.

      6   They have made it clear to us that they will not move forward

      7   unless there's a written agreement in place and that written

      8   agreement sets forth the timeline and strict milestones as far

      9   as when things have to proceed.

     10             THE COURT:    I read the new certification, Mr. Dahan.

     11   I appreciate that.

     12           All right.    So, why would I not, let's say that you

     13   can't agree on the terms of the consent order, why would I not

     14   enter an injunction directing the manager of the companies --

     15   the managers of the company to immediately submit to

     16   arbitration to resolve any deadlock issues described in -- as

     17   defined by Section 4.1(g) and (h), the scope of such

     18   arbitration to be determined by the arbitrator, that is, the

     19   arbitrator to determine whether something is in fact

     20   deadlocked under the terms of the agreement?

     21             MR. DAHAN:    Because, your Honor, we have already

     22   established that there is a deadlock as to those issues we

     23   have identified, and we think it's important to identify the

     24   scope of what the arbitrator, specifically what the arbitrator

     25   is being asked to rule on, which we have identified as part of




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      1   our application.     There's no formal application before the

      2   Court as far as what the defendants may want to submit to

      3   arbitration.    I don't understand what else they would want to

      4   submit to arbitration other than what we have identified

      5   because there's no other deadlock.

      6             THE COURT:    Well, as you said, they can make that

      7   application to the arbitrator.       Normally when I send something

      8   to arbitration, the scope of the arbitration is determined by

      9   the arbitrator.     That's generally federal law, correct?

     10             MR. DAHAN:    Yes, your Honor.

     11             THE COURT:    I can make a preliminary finding that the

     12   parties appear to be deadlocked on one or more issues as

     13   defined by the agreement, and in light of the strong federal

     14   interest in the arbitration of disputes, the Federal

     15   Arbitration Act, so forth and so on, directing the parties to

     16   conduct mediation -- arbitration, rather, under 4.1(g) and (h)

     17   on any issue the arbitrator deems to be deadlocked within the

     18   meaning of those provisions, and simply leave it to the

     19   third-party arbitrator to decide what is or is not deadlocked.

     20             MR. LENTZ:    May I be heard on that briefly?

     21             THE COURT:    Let me finish with Mr. Dahan and then

     22   I'll be happy to hear you.

     23             MR. DAHAN:    Your Honor, if I may make a suggestion.

     24   We don't know if there's a deadlock with respect to Walmart

     25   and Meijers.




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      1               THE COURT:   I know, that's part of my reluctance.

      2               MR. DAHAN:   Yes, and that's why I would say let that

      3   go to mediation because it may be a situation where it can be

      4   worked out.    If it's just a situation where they are

      5   requesting information, you know, that should be addressed in

      6   mediation and not arbitration.

      7               THE COURT:   To be clear, I would order both, and I

      8   have a separate theory about mediation here, but I don't know

      9   that the two things can't work hand in glove as you suggest.

     10   If the parties resolve it through mediation, there's no --

     11   it's no longer deadlocked and they would simply withdraw it

     12   from the arbitrator's determination.        If mediation is

     13   unsuccessful and one party or another can demonstrate to the

     14   arbitrator that an issue is deadlocked within the terms of the

     15   agreement, it seems to me that the arbitrator could hear such

     16   a matter.

     17               MR. DAHAN:   Right.   I think there's a timing issue,

     18   your Honor, if I may address that.

     19               THE COURT:   All right.   Well, let me say I would

     20   direct such arbitration in light of the procedural delays here

     21   to be conducted within a designated time frame.

     22               MR. DAHAN:   Yes.   And, your Honor, to me I kind of

     23   almost see it as two different buckets, and what I mean by

     24   that is this.    We have this extremely urgent situation with

     25   this international franchise.       My client has advised me that




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      1   if we don't have an agreement in place by Friday, one week

      2   from today --

      3              THE COURT:   I understand.     I read the certification.

      4   I hear you.    I'm with you.

      5              MR. DAHAN:   Okay.

      6              THE COURT:   Timing, that's kind of like, I know it's

      7   important, but it's a little bit of a -- right now it's still

      8   the tail of the dog because I have to figure out what I'm

      9   going to order, but I understand, I understand the urgency of

     10   the issue.

     11              MR. DAHAN:   And, your Honor, we have, there is an

     12   arbitrator, there is an attorney who is available to handle

     13   this next week, any arbitration that we -- that your Honor may

     14   order in accordance with our application.

     15              MR. LOMAX:   The first I'm hearing about this, your

     16   Honor.   No arbitrator has been proposed to us, your Honor.

     17              MR. DAHAN:   That's true.     What I'm saying is you had

     18   expressed, defense counsel had expressed a concern that we

     19   wouldn't find anybody to handle this by next week.           There is

     20   somebody we can propose whose calendar is available next week

     21   to timely address this.

     22              THE COURT:   All right.    Very good.

     23            Mr. Lentz, do you want to be heard?

     24              MR. LENTZ:   Yes, just briefly, your Honor.        And I

     25   appreciate your -- I can see you struggling to try and be fair




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      1   to both sides, which I appreciate.        My concern on this, your

      2   Honor, is the issue of Walmart and Meijers, which was new to

      3   me today when it came in, is that there's no emergency with

      4   respect to those two issues.       I agree they have a right to

      5   mediate those and arbitrate those, but my concern is if you

      6   rule the way you're going to rule with how at loggerheads

      7   every call I have been on with Mr. Baker and his Ohio counsel,

      8   that we're going to slow down and delay the ability to

      9   arbitrate what is an emergency, which is this franchise deal,

     10   which my client will be severely hurt, the amount of time that

     11   they have put in.

     12           If you're going to do that, why can't it be that they

     13   will arbitrate the issue of the international franchise

     14   pricing agreement, it's simple, all we have to do is agree on

     15   a price, and we're really not disputing the price, we're

     16   disputing at the end of the day what his client's ultimate

     17   piece of that is which, frankly, shouldn't be part of this

     18   hearing, but why can't you say with respect to Walmart and

     19   Meijers, they have the right to proceed to arbitration and

     20   mediation, we're not opposing that, but with respect to the

     21   international franchise issue, that shall be decided first.

     22   There's no time deadline for the other two.         There's no

     23   emergency.    That's my only request.      I don't want one to slow

     24   the other down.

     25             THE COURT:    Okay.   And I think Mr. Dahan was trying




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      1   to say that to me, and I understand.        Mr. Lentz, explain to me

      2   again, and I apologize because I did grant your motion, DF

      3   Ventures International.

      4              MR. LENTZ:   They are a 20 percent equity owner in the

      5   entity that would receive the money.        We're the Shark Tank

      6   people they referenced.

      7              THE COURT:   All right.

      8              MR. LENTZ:   And one other point, Judge, we also did

      9   send a written request January 10th to Mr. Baker to resolve

     10   this issue over the pricing.       He didn't show up, nor did he

     11   show up at the monthly sales calls and so forth.

     12              THE COURT:   All right.    Mr. Lomax.

     13              MR. LOMAX:   Yes, your Honor.

     14              THE COURT:   So, do you dispute as a factual matter

     15   that the three issues identified in Mr. Dahan's proposed order

     16   are not deadlocked as defined by 4.1(g) and (h)?

     17              MR. LOMAX:   I'm going to say yes, but I'm going to

     18   say we don't care if it goes to arbitration.         Okay?

     19              THE COURT:   Okay.

     20              MR. LOMAX:   And I'll tell you why we dispute it.           On

     21   February 15th, I have an e-mail here from Mr. Heben, who is

     22   Cleveland counsel for Mr. Baker, and it's to his partner, Mr.

     23   Levin, and Gavin is copied, where there is a laundry list of

     24   information requested about this potential opportunity for the

     25   company.   This is February 15th.      I'm being told, and I




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      1   believe him, that this has not been responded to, and the

      2   information requested has never been provided.          So, I

      3   believe --

      4               THE COURT:    Let me see it.

      5               MR. LOMAX:    Well, I don't -- this can't be part of

      6   the record because of the confidentiality, it references the

      7   name of the --

      8               THE COURT:    Let me see it anyway.    I'm not going to

      9   make it part of the record.

     10               MR. LOMAX:    Any objection?

     11               THE COURT:    Mr. Dahan is going to tell me that if you

     12   want to delay something, you ask for a whole bunch of

     13   information.    If he showed up, if your client showed up for

     14   the meetings that were requested and asked for this, I

     15   assume --

     16               MR. LOMAX:    It's a month to the day, though.

     17               THE COURT:    -- I don't have any reason to doubt that

     18   there wouldn't have been a good faith discussion.          What we

     19   have here is, apparently, requests for a meeting, this is an

     20   important issue, we need to sit down and talk about it, radio

     21   silence, crickets.       Then there's a requirement to go to the

     22   State Court.    Then there's this -- frankly, I'm not happy when

     23   I see these removals on the eve of a preliminary injunction

     24   hearing in the State Court.       It just looks bad.     It looks like

     25   your client is doing everything they can to frustrate the




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      1   relief sought and to delay an adjudication.         It's not helpful.

      2               MR. LOMAX:   I understand, your Honor, but we acceded

      3   to the relief sought.

      4               THE COURT:   That's not what I'm hearing.

      5               MR. LOMAX:   No, we did.

      6               THE COURT:   I'm hearing that you dispute whether or

      7   not --

      8               MR. LOMAX:   I have the order, and the order says, the

      9   proposed form of order, A and B is the same as what it says in

     10   the other order, but it's compelling defendants to immediately

     11   participate in mediation in accordance with Article 12 of the

     12   operating agreement, to address, among other things, approval

     13   of the 2019 operating budget, and D is to go to arbitration to

     14   address, among other things, the approval of the same three

     15   items that they list.

     16               THE COURT:   All right.    What about timing?

     17               MR. LOMAX:   Timing, we'll exchange three names of

     18   arbitrators today, tomorrow, whatever, and we'll see who is

     19   available as quickly as possible.        But they want to put a

     20   deadline that we've got to arbitrate by the 20th and we

     21   haven't picked an arbitrator yet, and getting somebody to be

     22   available by the 20th is a monumental task.         The good -- I

     23   won't say good -- there's a lot of good arbitrators out there,

     24   but they're in demand and they take a while to get on a

     25   calendar.




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      1            Now, I'm hopeful, once we're done this process here,

      2   that cooler heads will prevail, the business people will sit

      3   down and get this done without arbitration, we'll get this

      4   international franchise thing done.         Heben, Mr. Heben, Mr.

      5   Baker, their respective, Mr. Levin, who is corporate counsel

      6   for the Rastellis, Gavin, Mr. Rastelli, these people all have

      7   been involved in days upon days, hours upon hours of

      8   negotiations to try to get through this morass, but we have

      9   this parallel track of being here.        Okay?

     10            These parties should make a deal.        They're partners.

     11   My client is the biggest partner.        And part of the reason

     12   there's distrust here, there was a multimillion dollar deal

     13   with another franchisor, and my client has gotten peanuts on

     14   that deal, peanuts.     Now, someone claimed 63,000, my client

     15   says 3,000.    Okay?   I don't know what the difference is.            I'm

     16   working on two different assumptions.        But not a lot of money

     17   on multimillion dollar sales.       Okay?   And he's a 45 percent

     18   owner.   So, that's why we're in the morass we are.

     19            They have asked for information.         This guy is, I think

     20   Mr. Heben, he's working on this on a basis that I wouldn't

     21   work on it.    This guy doesn't have a lot of money, Mr. Baker.

     22   He has an idea.     He's in with Shark Tank people, and now we

     23   have to make sure the I's are dotted and the T's are crossed.

     24   Okay?    And that's all we're asking for.       We want information

     25   about this deal to make sure it's not another deal like the




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      1   last one where he gets nothing.

      2             THE COURT:    All right.    Mr. Dahan, what's the date

      3   that arbitrator is available?

      4             MR. DAHAN:    He's available Wednesday all day,

      5   Thursday up until 3:00 p.m.       It's Lewis Pepperman from Stark &

      6   Stark, your Honor.     My recollection is he's a former managing

      7   partner there.    He's a business litigator.       He's very well

      8   respected in the legal community.        And that would be our

      9   suggested arbitrator.

     10             MR. LOMAX:    Judge, I have a very contentious

     11   litigation with Stark & Stark in a shareholder case right now.

     12   I know who Mr. Pepperman is.       It's not who I would select.

     13   Let's get three different people that --

     14             THE COURT:    Well, the agreement has a mechanism when

     15   you can't agree.

     16             MR. LOMAX:    Yes.

     17             THE COURT:    You choose one each.

     18             MR. LOMAX:    Right.    I can submit somebody to your

     19   Honor, too, and your Honor could I think -- is it left to the

     20   Court?   I don't remember.

     21             THE COURT:    No.    It says that, I think it says that

     22   each, if you can't agree on one, that each selects one, and

     23   those two arbitrators pick a third person.

     24             MR. LOMAX:    Okay.    We're trying to avoid that.      I

     25   mean, if we can find three retired judges that are well known,




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      1   that are in the business of ADR, I mean, that's who I kind of

      2   want.

      3              MR. DAHAN:   It's a single arbitrator.

      4              MR. LENTZ:   Single arbitrator.

      5              MR. LOMAX:   I understand that.      I'm fine with a

      6   single arbitrator, but what I'm saying is -- may I address

      7   counsel?

      8              THE COURT:   Yes.

      9              MR. LOMAX:   I'm fine with a single arbitrator, but

     10   let's get three guys who are in the ADR business because I

     11   just want to make sure that this guy is treated fairly.

     12              THE COURT:   He means two, pick one, not three.

     13              MR. LOMAX:   Yes, two, pick one, but let's get three

     14   people in the ADR business because they're not going to screw

     15   anybody.

     16              THE COURT:   All right.    Mr. Lomax, do you have any

     17   problem with that arbitration concluding no later than five

     18   o'clock on February 21st?

     19              MR. LOMAX:   Well, assuming we can get somebody, no.

     20   As soon as it can get done, I have no problem with that.

     21              THE COURT:   Well, I would order it.

     22              MR. LOMAX:   Okay.

     23              THE COURT:   Here's the concern.      Again, with the

     24   procedural history, what I believe is fairly substantial

     25   evidence of attempts to get this issue discussed, and the




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      1   certification that's been given to me that this business

      2   opportunity may very well be lost by the 22nd, it seems to me

      3   that delaying arbitration is simply defeating the essential

      4   purpose of those provisions in this agreement which were

      5   clearly for the benefit of both sides and have to be addressed

      6   in good faith by both sides.

      7               MR. LOMAX:   Agreed.

      8               THE COURT:   So, I would be inclined to do the

      9   following:    I'd ask you to consent to it and I'll hear

     10   argument before I actually enter it without agreement.           But I

     11   don't think we need the word "binding."         That seems to me to

     12   be inherent in the nature of arbitration.         How binding it will

     13   be will be dependent upon the law and the agreement the

     14   parties entered into.      I don't need the word, to add the word

     15   "binding."    I don't need the word "expedited" because I'm

     16   going to set a timeline for it.

     17             So, I would say, I would direct that the managers of

     18   the company shall immediately submit to arbitration the

     19   deadlock issues described below in accordance with Section

     20   4.1(g) and (h) of the operating agreement for the company.

     21   The deadlock issues include, and it would be those three

     22   things.

     23               MR. LOMAX:   Can I be heard on 4 and 5, your Honor?

     24               THE COURT:   Well, let me finish and then I'm going to

     25   tell you how I intend to address that.




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      1             MR. LOMAX:    Okay.

      2             THE COURT:    The arbitration shall take place in New

      3   Jersey -- well, I would strike that.        Expenses for attendance

      4   by each party shall be at each party's sole cost and expense.

      5   And then the arbitrator shall be selected in accordance with

      6   4.1(g) of the operating agreement for the company by Monday,

      7   February 19th, and the arbitration shall take place and

      8   conclude no later than February 21st, 2019.

      9           I would then say that nothing in this order precludes

     10   any party from seeking the arbitration of any other issues

     11   deadlocked within the meaning of 4.1(g) and (h), such

     12   determination as to the scope of arbitration to be determined

     13   by the arbitrator; and second, the time, place and manner of

     14   the arbitration shall be determined by the arbitrator.           That's

     15   what I would do.     I'd ask you to consent to it.

     16           Mr. Lentz.

     17             MR. LENTZ:    The only thing we may not be thinking

     18   about is, that's all fine, but you said any party can add any

     19   other issue.    It doesn't seem to be fair to either side that

     20   we really want to have to decide the Walmart issue and the

     21   other issues by 2/21/19.      Those, anything other than the

     22   pricing issue can be decided later.

     23             THE COURT:    Well, I would add in --

     24             MR. LENTZ:    At their discretion.

     25             THE COURT:    That's a good point.      I would say nothing




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      1   in this order precludes the arbitrator from resolving any

      2   other issue within its jurisdiction as defined by the

      3   agreement in any time frame determined appropriate by the

      4   arbitrator.    If the arbitrator says I'm not dealing with that

      5   now, it's not ripe, it's unnecessary, then that's for the

      6   arbitrator to do.     If the arbitrator can get it done, wants to

      7   get it done, thinks it's deadlocked and thinks it's timely,

      8   then the arbitrator can do it.

      9             MR. LENTZ:    But the franchising issue will be by the

     10   21st, you're saying.

     11             THE COURT:    Yes.

     12             MR. LOMAX:    Judge, can I just be heard on one issue?

     13   I just want to talk about videoconferencing.         Okay?

     14             THE COURT:    Go ahead.

     15             MR. LOMAX:    Mr. Baker, we discussed this today, Mr.

     16   Baker has an -- had an aortic aneurysm and he shouldn't fly.

     17   That's one of the problems.       Plus, getting a flight from

     18   Cleveland to here or Florida, wherever he is, to here --

     19             THE COURT:    I'm not ordering him to appear in person.

     20             MR. LOMAX:    Okay.

     21             THE COURT:    I wouldn't do that.      I leave it to the

     22   arbitrator.    I assume that your adversaries would listen to

     23   reasonable requests for accommodations for someone who might

     24   have those difficulties.

     25             MR. LOMAX:    He didn't today.




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      1             THE COURT:    And I also assume that the arbitrator

      2   would be similarly sensitive to that.        And it would be a shame

      3   if they determined that there was a refusal to arbitrate when

      4   someone was physically unable to get there.         But I'm not --

      5   there's nothing in this agreement that I see that mandates a

      6   particular procedure for arbitration and it seems to me that

      7   should be left to the arbitrator.

      8             MR. LOMAX:    Okay.   Thank you.

      9             THE COURT:    Unless there's some provision in federal

     10   law that directs me to control that.        I'm trying to, first of

     11   all, I'm trying to get you to agree, to consent to this.               If

     12   you don't, then I think the scope of my injunction should be

     13   limited to the agreement that the parties have reached, and if

     14   they have been silent on the issue of the time, manner and

     15   method of arbitration, that you will have to be left to --

     16   that should be left then to the arbitrator to determine.

     17             MR. DAHAN:    Your Honor, may I just respond?

     18             THE COURT:    But I would hope that people would, you

     19   know, if someone can only be there by phone or

     20   videoconferencing because of some health issue, that they

     21   would act in good faith to do what could be done to get it

     22   done.

     23             MR. DAHAN:    Your Honor, if I may respond to what Mr.

     24   Lomax said.    I don't recall Mr. Lomax -- this is the first

     25   time I recall Mr. Lomax telling me that Mr. Baker had some




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      1   sort of medical issue.      All we got --

      2               MR. LOMAX:   We left that out today.      There was a lot

      3   of yelling, screaming, so we left that out.

      4               MR. DAHAN:   So, obviously, your Honor, I'm

      5   sympathetic to medical issues.       My son is a type I diabetic.

      6   I get it.    I understand that.     But this is the first time I'm

      7   hearing it from Mr. Lomax.

      8               MR. LOMAX:   Okay.   I apologize.

      9               MR. DAHAN:   Your Honor, the other issue is, I don't

     10   want, I just don't want to let this go unanswered, I want to

     11   address this.    It's really an issue for another day to be

     12   decided by the arbitration.       The key here is, of critical

     13   importance is to go to arbitration on these three issues that

     14   we identified, but Mr. Lomax gave your Honor an e-mail from

     15   Mr. Heben on February 15, 2019, requesting a bunch of

     16   information, and this is a two-page e-mail.         It's very

     17   important to understand the history here.

     18           The defendants were previously represented by another

     19   attorney, John Patrick, who requested information from us, and

     20   we provided him with voluminous information.         My clients also

     21   offered to give training to Mr. Baker and his daughter to

     22   access their computer system so that they can get information

     23   on inventory and other financial information about the

     24   company.    They refused to take advantage of that opportunity

     25   to be trained, your Honor, and the old adage is, look, we can




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      1   lead a horse to water, but we can't make him drink.

      2             THE COURT:    I think I said that I'm trying to get Mr.

      3   Lomax to agree to what you want, and if he doesn't do it, I'm

      4   considering ordering it anyway, so I don't know why --

      5             MR. LOMAX:    Just order it anyway, Judge.       I hear what

      6   you're saying.    It will be easier for me if you just order it.

      7             THE COURT:    So, I'm not questioning, Mr. Dahan, the

      8   good faith of your client in attempting to provide

      9   information.    In fact, I'm predicating any order I enter on

     10   the timing of this suggesting to the Court or informing the

     11   Court that some -- and there may be good reasons for concern

     12   about this being equitable to both sides, but the parties

     13   entered into an agreement in which they agreed to arbitrate

     14   these kinds of disputes, and, frankly, it's just not the place

     15   of this Court to get down into the weeds about who is right

     16   about $63,000 or $3,000 when the parties have carefully

     17   thought about how to resolve their disputes.         I will enforce

     18   that agreement because it's consistent with federal law to

     19   encourage arbitration, the parties have clearly entered into

     20   it.

     21           I have a separate foundation for mediation, which is

     22   our own local rules, which authorizes me to refer any civil

     23   action to mediation without the consent of the parties.           So, I

     24   don't even have to get into the agreement to order mediation

     25   of any remaining issues that should be resolved by February




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      1   21st, including an operating budget, and it would be by a

      2   single mediator.

      3           So, Mr. Lomax, you will not agree to the arbitration

      4   that I have described?

      5             MR. LOMAX:    Well, just so I'm clear on the -- I wrote

      6   as quickly as I could, your Honor, but nothing herein shall

      7   preclude the parties or -- preclude or limit the issues for

      8   arbitration, and it will be subject to what the arbitrator

      9   decides is arbitrable; is that correct?

     10             THE COURT:    Right.    And including the right to

     11   determine a timeline for any arbitration.

     12             MR. LOMAX:    Yes.   Your Honor, I consent to this, I

     13   consent to this.

     14             MR. DAHAN:    Other than the three issues that we have

     15   identified that have to go to mediation next week, correct,

     16   your Honor?

     17             THE COURT:    Right.

     18             MR. DAHAN:    Because we don't want any other issues

     19   other than those three issues we have identified that --

     20             THE COURT:    The arbitrator can take up other issues

     21   within that -- by the 21st if the arbitrator determines that

     22   they are deadlocked and appropriate for resolution.

     23             MR. LOMAX:    That's how I understood it, your Honor.

     24             MR. DAHAN:    Hold on.    But, your Honor, the concern I

     25   have with that is your Honor had indicated as long as Mr.




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      1   Baker complies with the requirements in 4.1(g).          He can't

      2   possibly do that by February 21st.        We have done that.

      3              THE COURT:   Federal law is clear, generally speaking,

      4   the scope of arbitration is for the arbitrator, not this

      5   Court.   I am not going to get down into the weeds on what the

      6   arbitrator can or cannot do.       As a matter of equity, as a

      7   matter of injunction or by consent, and I appreciate Mr.

      8   Lomax's willingness to enter into a consent, I would

      9   specifically send those three issues to the arbitrator.           I

     10   don't have any reason to doubt that they are deadlocked.               I am

     11   not going to determine other issues as to whether they are or

     12   are not deadlocked.     I'm just not going to do it.       And I don't

     13   think I should.     And I don't think the law encourages me to do

     14   it.

     15            But the law is clear, the arbitrator can determine the

     16   scope of the arbitrator's jurisdiction on other issues.           And

     17   whether or not the issue is actually deadlocked under the

     18   terms of the agreement would be within the scope of the

     19   arbitrator's authority.      You can make any argument you want to

     20   the arbitrator that it's just -- it's not a good idea to do it

     21   now because it is going to detract us from the important issue

     22   at hand that has to be decided by whatever date it is, and

     23   they haven't shown that it's deadlocked, the arbitration

     24   provision isn't triggered, make all the arguments you want,

     25   and that arbitrator can determine whether or not they want to




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      1   do it.

      2              MR. DAHAN:   Okay.   And, your Honor, just so I'm

      3   clear, but the three issues we identified will be decided by

      4   an arbitrator next week.

      5              THE COURT:   Yes.

      6              MR. DAHAN:   Okay.   By the 21st.

      7              THE COURT:   Mr. Lomax has agreed to that, would agree

      8   to that, so long as he has the option of bringing to the

      9   arbitrator's attention other issues and can make the same

     10   arguments about whether or not that arbitrator should take

     11   those matters up.     If the arbitrator wants to or feels that

     12   they can within the scope of the agreement the parties entered

     13   into, then that's fully within the scope of the arbitrator's

     14   power, but they must decide the issues by the 21st for the

     15   ones I have sent because I am convinced on the record before

     16   me that they are indeed deadlocked, that there's an equitable

     17   interest in seeing that they be resolved by that date given

     18   the importance of it to the company.

     19            And then whether it's done by phone or in person and

     20   where the particular parties are, you may agree on an

     21   arbitrator who doesn't want to come to New Jersey.           But the

     22   time, manner and method for arbitration shall be determined by

     23   the arbitrator since the parties have not entered into an

     24   agreement as to that that I can find.

     25              MR. DAHAN:   Your Honor, my recollection is Mr. Lomax




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      1   has no problem with the arbitration taking place in New

      2   Jersey.   I mean, that's where, you know, we're located.          The

      3   business is located here.       I don't want to get into a dispute

      4   as far as where we're going to conduct this arbitration

      5   because it is just going to slow the train down.

      6             THE COURT:    Well, he's saying his client, his client,

      7   who I'm sure wants to attend --

      8             MR. LOMAX:    We can do it at the Camden Speed Line

      9   station, I don't care.      We can do it anywhere.

     10             MR. DAHAN:    Okay.    And then, your Honor, with respect

     11   to mediation, did I understand your Honor correctly, because

     12   again, we wanted to -- we wanted to have mediation proceed as

     13   quickly as possible within a certain time period.          If the

     14   parties are willing to work it out, great.         If they consent to

     15   extend the 30-day time period to mediate, great.          But if not,

     16   then we can come back to court and litigate.

     17             THE COURT:    I'm going to direct the parties to

     18   mediation, expedited mediation on the issue of developing and

     19   approving a 2019 operating budget in accordance with Section

     20   4.4 of the operating agreement and any -- well, any and all

     21   remaining issues between them just seems too broad.           You'll

     22   have to define what issues you want sent to mediation.

     23             MR. DAHAN:    Okay.    So, just -- okay.

     24             THE COURT:    And what's the time frame for the

     25   mediation?




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      1              MR. DAHAN:   We requested 30 days, your Honor.

      2              THE COURT:   All right.

      3              MR. DAHAN:   And the parties have agreed that we'll

      4   just use a single mediator.       The operating agreement calls for

      5   three, but we all agree that's a waste of expense.           So, we're

      6   all comfortable, and Mr. Lomax can correct me if I'm wrong,

      7   but we're comfortable using a single mediator.

      8              MR. LOMAX:   That's correct, your Honor.       We're

      9   comfortable with Judge Schneider if he's available, your

     10   Honor.   I am.

     11              THE COURT:   I'll have to take that up with Judge

     12   Schneider.    He's very good, but he's so good that I keep him

     13   and the other judges here keep him very busy.          You'll have to

     14   take that up with him, but I certainly have no objection to

     15   that.    But what I would do is I would send the parties to

     16   immediately participate in expedited mediation regarding the

     17   2019 operating budget because it seems to me to be of

     18   importance and interrelated to the issues to be sent to

     19   arbitration, such mediation to continue for 30 days as

     20   necessary before a single mediator.        I would strike all, any

     21   and all remaining issues simply because it's too vague.

     22            So, to be clear, I would, in C, I would say the

     23   managers of the company shall immediately submit to

     24   arbitration the deadlock issues described below, and then it

     25   would be the three that were identified in the proposed form




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      1   of order.    The time, place and manner of arbitration shall

      2   take -- shall be decided by the parties, and if a dispute

      3   arises, by the arbitrator.      The arbitration shall take

      4   place -- shall conclude no later than February 21st, 2019.

      5           Nothing in this order precludes either party from

      6   seeking arbitration of any other deadlock issues as defined in

      7   4.1(g) and (h), such a finding of deadlock under those

      8   provisions to be determined by the arbitrator.          Expenses for

      9   attendance by each party shall be made at each party's sole

     10   cost and expense.

     11               MR. LOMAX:   Judge, are you writing these in, or do

     12   you need a --

     13               THE COURT:   I would really appreciate if someone

     14   could submit something to me.        Do you have the ability to do

     15   that?

     16               MR. LOMAX:   I can try.    I will go back to my office

     17   and try.

     18               THE COURT:   All right.    Can you get it to me tonight?

     19               MR. LOMAX:   I'll try.    If you give me an e-mail, I

     20   will.

     21               THE COURT:   Well, what I'd actually prefer, you would

     22   have to -- are you agreeing to this, Mr. Lomax?

     23               MR. LOMAX:   What you just said, yes.

     24               MR. DAHAN:   Your Honor, could I just add one thing,

     25   your Honor?




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      1             MR. LOMAX:    For C, yes, your Honor.

      2             MR. DAHAN:    Your Honor, I think your Honor earlier

      3   had said that the arbitrator will be selected, shall be

      4   selected in accordance with --

      5             THE COURT:    Yes.

      6             MR. DAHAN:    Okay.   By Monday.

      7             THE COURT:    Yes.

      8             MR. DAHAN:    Okay.   February 18th.     Okay.

      9             THE COURT:    Well, that's a holiday.

     10             MR. LOMAX:    That's why I put the 19th.       I didn't

     11   cross out --

     12             THE COURT:    It would be helpful to both sides to get

     13   it done by the 18th.

     14             MR. DAHAN:    Yes.

     15             MR. LOMAX:    I'm fine.    I'm working Monday.

     16             MR. DAHAN:    Okay.   I will, too, your Honor.

     17             THE COURT:    Why don't you send me a consent order.

     18             MR. LOMAX:    I can't e-file, your Honor, without my

     19   secretary and she's going to be gone.        Do you have people

     20   there?

     21             MR. DAHAN:    Yes, I can call my office and see if I

     22   can have somebody stay back, your Honor, to get it e-filed.

     23             THE COURT:    I can get you an e-mail to send it that

     24   can be then sent to me for my approval.         I'm getting on an

     25   airplane tomorrow morning and going out of the country.           I'll




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      1   approve it tonight.     You may not see a signed copy until --

      2   agree on it and submit it.      If you do not hear from me by

      3   tomorrow morning at nine o'clock, assuming it's been approved,

      4   you'll get a file copy on Tuesday morning.         Is that sufficient

      5   for the parties' purposes?

      6             MR. LOMAX:    What time does everybody leave here, your

      7   Honor?   Maybe we can write it up and initial it and have your

      8   Honor sign it.

      9             THE COURT:    That would be preferable.

     10             MR. LOMAX:    Why don't we do that.

     11             THE COURT:    All right.

     12             MR. DAHAN:    That's fine, your Honor.

     13             MR. LENTZ:    I have my laptop right here.

     14             MR. LOMAX:    You do?

     15             MR. LENTZ:    Yes.

     16             THE COURT:    All right.    And then you can e-mail it to

     17   Ms. Novoa and then I'll sign it.

     18             MR. DAHAN:    And, your Honor, just with respect to the

     19   mediation, we had a provision in there that we would -- the

     20   parties would select one mediator within three days, and if we

     21   can't, then your Honor would appoint a mediator within three

     22   days thereafter.     Is that acceptable?

     23             THE COURT:    It's acceptable to me.

     24             MR. DAHAN:    Because again, we just want to keep this

     25   moving, and --




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      1              MR. LOMAX:   Is everyone agreeable to Judge Schneider?

      2              MR. DAHAN:   Your Honor, we have no --

      3              MR. LOMAX:   Maybe Judge Hillman can check on Judge

      4   Schneider's availability.

      5              MR. DAHAN:   Your Honor, that's acceptable to us if

      6   it's acceptable to your Honor.

      7              THE COURT:   It certainly is.     I just can't speak for

      8   him.   He might be here, might not.       I'm happy to have him do

      9   it.    I'm always happy to have the parties agree on a mediator,

     10   but we have a list, but it's better when the parties agree.

     11            So, I would just include the provision that you

     12   described, and then if Judge Schneider takes it, then that's

     13   great.   If he doesn't, you can pick someone else.         And if you

     14   can't resolve it, then you can come back to me next week and

     15   I'll pick somebody.

     16              MR. DAHAN:   Okay.

     17              MR. LOMAX:   Judge, as far as the time, place and

     18   manner for the mediation --

     19              THE COURT:   Yes.

     20              MR. LOMAX:   -- we'll leave that up to the mediator,

     21   too?

     22              THE COURT:   Yes.

     23              MR. LOMAX:   Okay.

     24              THE COURT:   And that's rule, local civil Rule 301.1.

     25   So, the order should make clear that I'm appointing the




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      1   mediator --

      2             MR. LENTZ:    301.1?

      3             THE COURT:    301.1, pursuant to the terms of that

      4   rule.

      5             MR. LENTZ:    Okay.

      6             THE COURT:    As modified as follows, and then you can

      7   include the provisions you have agreed to.

      8           All right.    So, why don't I leave you to some

      9   wordsmithing and then you can let me know when you're ready

     10   and I'll review it and sign it.

     11             MR. DAHAN:    Thank you, your Honor.

     12             MR. LOMAX:    Thank you, your Honor.

     13             THE COURT:    Thank you all.

     14             THE DEPUTY COURT CLERK:       All rise.

     15             (Proceedings concluded at 4:29 p.m..)

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